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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                     CENTRAL DIVISION
                                        FRANKFORT


JUDICIAL WATCH, INC.,                          )
                                               )
       Plaintiff,                              )
                                               )
UNITED STATES OF AMERICA,                      )
                                               )                Civil No. 3:17-cv-00094-GFVT
       Plaintiff-Intervenor,                   )
                                               )
       v.                                      )
                                               )
ALISON LUNDERGAN GRIMES, et al.,               )
                                               )
       Defendants.                             )

     ALISON LUNDERGAN GRIMES’ REPLY TO JUDICIAL WATCH’S AND THE
       UNITED STATES’ RESPONSES IN OPPOSITION TO THE KENTUCKY
              DEMOCRATIC PARTY’S MOTION TO INTERVENE

       Defendant, Alison Lundergan Grimes, in her official capacity as the Secretary of State of

the Commonwealth of Kentucky (the “Secretary of State”) takes no position on the propriety of

KDP’s intervention in this lawsuit (DE 46) but responds to certain misstatements contained in

the response briefs of Judicial Watch (DE 52) and the United States (DE 53).

I.     The Secretary of State’s Correct Interpretation of Kentucky’s Election Laws Is
       Consistent With The Consent Judgment.

       Judicial Watch alleges in the “factual” recitations in its response to the KDP’s motion to

intervene that the Secretary of State’s position in the KDP’s lawsuit in Franklin Circuit Court

(the “KDP Lawsuit”) violates the Consent Judgment in this matter, and that the Secretary of

State is secretly “colluding” with KDP in an unspecified and conspiratorial “coordinated,

collateral attack on this Court’s Consent Judgment.” (See DE 52, at 2-6.) The United States

similarly suggests that the Secretary of State’s position “could result in a conflict with
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requirements of the federal Consent Judgment.” (DE 53, at 9.) To the contrary, the Secretary of

State’s correct interpretation of Kentucky’s election laws, as confirmed by order of the Franklin

Circuit Court, is consistent with the Consent Judgment, which is premised upon the proper

application of Kentucky’s election law. Judicial Watch and the United States—not the Secretary

of State—take a position directly contrary to the express language of the Consent Judgment.

       The United States and Judicial Watch agreed in the Consent Judgment that Kentucky law

permits only those registrants who (1) do not respond to the confirmation notice mailing required

by KRS 116.112(3) and Section 8(d)(2) of the National Voter Registration Act (the “Section

8(d)(2) Notice”) and (2) do not vote or appear to vote for two federal election cycles, to be

included on an inactive list. Specifically, Judicial Watch and the United agreed:

               As part of its list maintenance program, the Kentucky State Board
               of Elections is required by state law to maintain an inactive list.
               State law provides that when the State Board sends the notices
               described in KRS § 116.112(3) to registrants identified as having
               moved to a new county or state, the registrants who do not
               respond to the notice and do not vote or appear to vote for two
               federal election cycles are maintained on an inactive list. KRS §
               116.112(5). When the State Board last sent such notices in 2009,
               those registrants who did not respond to the notice and did not vote
               or appear to vote for two federal election cycles were included on
               an inactive list and ultimately 67,743 individuals were removed
               from the registration list.

(Id., at ¶ 25) (citing KRS 116.112(5)) (emphasis added).

       In the KDP Lawsuit, the Secretary of State contested the SBE’s illegal removal of

eligible voters from the voter rolls and the imposition of illegal barriers to vote that were

contrary to KRS 116.112(5). The inactive list created and maintained by SBE at issue in the KDP

lawsuit improperly included voters who had only received a Section 8(d)(2) Notice but had not

yet failed to vote in an election during the period between the date of the notice and ending on

the day after the second general election for federal office. As a result, SBE removed voters



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who received Section 8(d)(2) Notices from the list of registered voters disseminated to the public

and attempted to impose illegal barriers on their ability to vote. Because the Section 8(d)(2)

Notices were mailed in June 2019, none of the voters on the SBE’s “inactive list” could have

possibly failed to appear to vote in two federal general elections as the next federal general

election will take place in November 2020, then again in November 2022. Thus, the Secretary of

State’s position in the KDP Lawsuit was simply that the SBE must not maintain an inactive list

or impose barriers to voting that violate KRS 116.112(5).

       The United States moved to participate in the KDP Lawsuit as an amicus and, contrary to

its agreement to Paragraph 25 of the Consent Judgment, argued in favor of the SBE’s illegal

removal of voters from the active registration list and imposition of barriers to voting. Judicial

Watch appeared in court and stated that it also agreed with the SBE’s illegal removal of voters

and imposition of illegal voting barriers. In an order dated October 14, 2019, the Franklin Circuit

Court agreed with the Secretary of State, ordering the SBE to return the Kentucky voters who

received and have not responded to the Section 8(d)(2) Notice to active registration. (See DE 55-

19, October 14, 2019 Order.)

       The Secretary of State’s correct interpretation of Kentucky law regarding the SBE’s

maintenance of an improper inactive list cannot give rise to a violation of the Consent Judgment.

It is not a violation of the Consent Judgment to interpret the law correctly and oppose the illegal

removal of voters from the active registration list and illegal barriers to voting.

       Judicial Watch suggests the Secretary of State’s invocation of a common interest

privilege with KDP is evidence of “collusion” between the Secretary of State and the KDP. (See

DE 52, at 4-6.) This is nonsense. Federal law is clear that invocations of privilege cannot create

adverse inferences. See, e.g., United States ex rel. Barko v. Halliburton Co., 241 F. Supp. 3d 37,




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54 (D.D.C. 2017) (assertion of attorney client privilege cannot create adverse inference).

Furthermore, Judicial Watch’s statement that the Secretary of State’s correct interpretation of

Kentucky law “first appeared” in “private emails” from the Secretary of State’s counsel is

factually incorrect and misapprehends the Kentucky Open Records Act. First, the Secretary of

State’s correct interpretation of Kentucky law first appeared in the Consent Judgment, which

recited the plain language of KRS 116.112(5) that prohibits the maintenance of an inactive list of

voters who have not yet failed to appear to vote for two federal general elections after receiving

the Section 8(d)(2) Notice. (See DE 39, at ¶ 25.) Second, the emails from counsel for the

Secretary of State cited in Judicial Watch’s brief are not “private emails;” the emails cited were

sent to counsel for Judicial Watch and the United States, and are subject to public disclosure

pursuant to Kentucky’s Open Records Act. See KRS 61.870, et seq. Simply put, there is nothing

nefarious about the Secretary of State correctly interpreting Kentucky law, as she is

Constitutionally required to do for the protection of Kentucky voters.

II.    The SBE Properly Engaged Outside Counsel To Respond To The United States’
       Intervening Complaint.

       The United States’ brief in opposition to KDP’s motion to intervene suggests that the

Secretary of State was somehow responsible for prohibiting SBE staff from communicating with

the Department of Justice beginning in July 2018, citing false allegations by Jared Dearing, the

Executive Director of the SBE. (See DE 53, at 4-6.) In reality, staff for the SBE ceased

communicating directly with the Department of Justice in July 2018 because the SBE utilized

outside counsel at that time to respond to the United States’ intervening complaint and to

coordinate compliance with the recently agreed Consent Judgment. It is offensive that the United

States would suggest that the SBE’s decision to retain outside counsel amounts to improper

interference with the United States’ efforts to ensure compliance with the Consent Judgment.



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There can be no adverse inference that results from the decision of SBE to utilize outside counsel

and to enforce the ethical prohibition of direct contact by opposing counsel with a represented

client.

                                                    Respectfully submitted,

                                                    /s/ Daniel J. O’Gara
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                                                    Grimes, in her official capacity as Chief
                                                    Elections Official


                                CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2019, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notice of the electronic filing to all
counsel of record.

                                                    /s/ Daniel J. O’Gara
                                                    Counsel for Defendant Alison Lundergan
                                                    Grimes, in her official capacity as Chief
                                                    Elections Official




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